767 F.2d 922
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.WABASH VALLEY BROADCASTING CORPORATION, PLAINTIFF-APPELLANT,v.JACKSON TELECASTERS, INC. AND ROBERT J. KOOB, DEFENDANTS-APPELLEES.
    NO. 84-5881
    United States Court of Appeals, Sixth Circuit.
    6/14/85
    
      W.D.Tenn.
      REMANDED
      ORDER
      BEFORE:  KENNEDY, CONTIE, and MILBRUN, Circuit Judges.
    
    
      1
      In accordance with the agreement reached between the parties in settlement discussions conducted pursuant to Sixth Circuit Rule 18, the parties jointly move to remand this cause to the United States District Court for the Western District of Tennessee, Eastern Division, for determination of the parties' joint motion filed pursuant to Rule 60(b)(6), Federal Rules of Civil Procedure.
    
    
      2
      Upon consideration of the motion and further considering Judge Gibbons' order of May 23, 1985.
    
    
      3
      IT IS ORDERED that the motion be and hereby is granted.  The appeal is remanded to the district court for further proceedings.  See First National Bank of Salem, Ohio v. Hirsch, 535 F.2d 343 (6th Cir. 1976).
    
    